Case 3:20-cr-01306-JLS Document 42 Filed 11/04/20 PageID.111 Page 1 of 1



 1
 2
 3
 4                        UNITED STATES DISTRICT COURT
 5                      SOUTHERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                       CASE NO.: 20-CR-1306-JLS
 8                      Plaintiff,                   HON. JANIS L. SAMMARTINO
 9         v.
                                                     ORDER TO CONTINUE MOTION
10   DAVID TORRES-PAZ (1)                            HEARING/TRIAL SETTING
11   LAURA HERNANDEZ-FLORES (2),
12
13               Defendant

14
15         Joint Motion Having Been Entered by the parties, and Good Cause
16   appearing, IT IS HEREBY ORDERED, that the Motion Hearing/Trial Setting be
17   continued from November 6, 2020 at 1:30 p.m. until December 18, 2020 at 1:30
18   p.m. Defendant Hernandez-Flores shall file an acknowledgement of the new
19   hearing date by November 13, 2020.
20         It is further ordered that time is excluded in the interests of justice, pursuant
21   to 18 U.S.C. §§ 3161(h)(7)(A), 3161(h)(7)(B)(i), and 3161(h)(7)(B)(iv), for the
22   reasons set forth in the parties’ Joint Motion to Continue Motion Hearing/Trial
23   Setting.
24         SO ORDERED.
25
     Dated: November 5, 2020
26
27
28
